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                           CASE NO. CIV-20-944-D


        IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF OKLAHOMA



                      DWAIN EDWARD THOMAS,

                                 Plaintiffs,

                                     v.

      KEVIN STITT, OKLAHOMA BOARD OF CORRECTIONS,
OKLAHOMA DEPARTMENT OF CORRECTIONS, and OKLAHOMA PARDON
                     and PAROLE BOARD,

                                Defendants.




                 DEFENDANT TOM BATES’
    MOTION FOR SUMMARY JUDGMENT AND BRIEF IN SUPPORT




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                              September 4, 2024
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                     IN THE UNTED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

 DWAIN EDWARD THOMAS,

      Plaintiff,
 v.                                              Case No.: CIV-20-944-D

 KEVIN STITT, et al,

      Defendants.

                  DEFENDANT TOM BATES’ MOTION FOR
               SUMMARY JUDGMENT AND BRIEF IN SUPPORT

       Plaintiff’s claims against Executive Director of the Oklahoma Pardon and Parole Board

(“PPB”) Tom Bates (“Director Bates,” “Bates,” or “PPB”) 1 in his official capacity fail as a

matter of law under the undisputed material facts, as: (1) Plaintiff’s claims under the Eighth

Amendment and the Oklahoma Constitution are legally untenable; (2) Plaintiff was provided

a meaningful access to parole, and (3) Plaintiff is re-litigating an issue which has already been

fully adjudicated. Director Bates hereby moves for summary judgment pursuant to Fed. R.

Civ. P. 56.

                              STATEMENT OF THE CASE

       Plaintiff, a 44-year-old currently in the custody of Oklahoma Department of

Corrections (“ODOC”), pled guilty to the heinous murders of his mother, step-father, and

his step-grandfather. See ODOC Field File, attached as Exhibit 1, at ODOC 495, 502, 512.

Although Plaintiff was a minor at the time of his offenses, he was convicted and sentenced

as an adult due to their violent nature. Id. at ODOC 326, 344. Plaintiff is currently serving



1 As of 2020, Tom Bates replaced Steven Bickley as the Executive Director of the PPB.
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three life sentences with the possibility of parole. Id. Plaintiff filed this action pursuant to 42

U.S.C. § 1983 alleging that he is not afforded a meaningful and realistic opportunity for

release through Oklahoma’s parole system, in violation of his rights under the Eighth

Amendment and the Oklahoma Constitution. [Doc. 1 at p. 37 ¶ 119, pp. 38–39] (citing Miller v.

Alabama, 567 U.S. 460 (2012); Montgomery v. Louisiana, 577 U.S. 190 (2016). Specific to Bates,

Plaintiff alleges that the PPB’s policies fail to explicitly consider youth at the time of the

offense. [Doc.1 at p. 26 ¶ 80-82].

       Plaintiff seeks both a declaration that Oklahoma’s parole process is “unconstitutional .

. . to the extent that it fails to provide adequate consideration of youth status,” as well as

injunctive relief “to remedy Oklahoma’s unconstitutional failure to provide a meaningful and

realistic opportunity for release to Mr. Thomas, as well as others similarly situated.” 2 Plaintiff

specifically alleges he “received neither adequate consideration of his youth at sentencing nor

any meaningful and realistic opportunity [sic] release . . . in violation of the Eighth Amendment

and OKLA. CONST. art. II, § 9.” [Doc. 1 at ¶ 41–44] 3. As discussed below, each of Plaintiff’s

claims fail as a matter of law.


2
 Additionally, Plaintiff has not been appointed to represent a class, nor has Plaintiff even filed
a motion for class certification. Therefore, relief can only be granted as to this Plaintiff.
3 Plaintiff brings this lawsuit solely based on his claim that the Oklahoma Parole System does

not provide him meaningful access to parole. However, parole is only one part of the system
in Oklahoma, which also includes pardon and commutation. An offender can apply for
commutation, which allows an inmate to petition PPB to seek correction of an “unjust or
excessive sentence.” See Commutation Application, attached as Exhibit 14. PPB has authority
under Oklahoma law to recommend reducing Life sentences to definite (shorter) terms and/or
commuting consecutive Life sentences to run concurrently, so that an offender would only
need to be paroled once to be released. OKLA. CONST art. VI, § 10, 57 O.S. 332.2(H). If denied,
applicants are then eligible to reapply for commutation every three years, doubling the
opportunities for a violent offender to be considered for relief. Plaintiff has been eligible to
                                                 2
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                    STATEMENT OF UNDISPUTED MATERIAL FACTS

Plaintiff’s Judgment and Sentence

        1.      On December 9, 1995, Plaintiff was arrested in Sequoyah County for three (3)

counts of Murder in the First Degree of his mother, step-father, and step-grandfather. See Ex

1 at ODOC 318-321.

        2.      On March 20, 1997, Plaintiff pled guilty to three (3) counts of First-Degree

Murder in Sequoyah County (CF 1995-380). Plaintiff is serving his sentences to Counts I and

II concurrently. Plaintiff will then serve his sentence as to Count III consecutively to Counts

I and II. Id.

        3.      Plaintiff shot and killed his mother and stepfather. Plaintiff also stabbed his

step-grandfather to death Id. at ODOC 495, 502, 512.

        4.      Plaintiff was convicted and sentenced as an adult. Id at ODOC 326, 344.

        5.      Plaintiff is serving three (3) Life Sentences that are all eligible for Parole. See

Plaintiff’s PPB File, attached as Exhibit 2 at PPB 20-45; see also Ex. 1 at ODOC 323, 356.

        6.      As of the date of this filing, Plaintiff is 44 years old. See Ex. 2 at PPB 21.

Oklahoma Parole Process 4

        7.      When an individual is brought into ODOC custody, PPB parole investigators

are responsible for the docketing of the inmate’s eligibility for parole, and for reviewing and


apply for commutation since his reception into ODOC—yet has never applied. Rather than
exercising his legal rights to make his opportunity for release more meaningful, Plaintiff seeks
to impose partiality into the parole process, requesting special treatment for his status as a
juvenile at the time of his offenses.
4 For the purposes of this lawsuit, regular parole docket consideration is at issue not medical

parole, administrative parole, or aging prisoner parole.
                                                  3
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confirming eligibility for parole throughout the parole process. See Bates Depo, attached as

Exhibit 3 at p. 74:4-21, see also Long Depo attached as Exhibit 4 at pp. 118:14-119:7, pp. 133:18-

134:4.

         8.     Parole eligibility date calculations are based on statute. See Ex. 3, at 72:5-9, See

also PPB Admin. Rule, attached as Exhibit 5, at 515:25-3-1.

         9.     This date is calculated when an inmate is processed into ODOC custody. Ex. 3,

at p. 72:10-13; Ex. 4, at pp. 133:18-134:4.

         10.    For violent offenders, there is a two-step process for parole. The first step is

called stage one or jacket review. In stage one, the PPB members review the set of materials

provided to PPB, and then vote on whether to pass the inmate to stage two. See Ex. 3 at pp.

67:6-68:1; see also Ex. 5 at 515:25-7-2.

         11.    PPB members are given the investigative report prepared by the PPB parole

investigator, all support letters (if any), all victim letters (if any), and all district attorney (“DA”)

narratives (if any). Ex. 3 at pp. 56:24-57:9.

         12.    The parole investigator, an employee of PPB, is responsible for conducting an

investigation and then preparing, drafting, and submitting an investigative report in advance

to the parole hearing. Ex. 3 at pp. 73:16-74:3; see also Ex. 4 at p. 133:11-14, p. 134:10-12, p.

180:14-17 and OKLA. CONST. art. VI, § 10.

         13.    PPB members consider many factors in making parole decisions. See Luck Depo,

attached as Exhibit 6 at p. 125:4-6.

         14.    As a part of their investigations, parole investigators conduct face to face

interviews with each offender scheduled on monthly dockets, unless an interview is not


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possible, or an exception applies. See PPB Investigator Handbook, attached as Exhibit 7 at p. 6,

see also Ex. 4 pp. 166:23-167:1, p. 179:8-10.

       15.     If a face-to-face interview with the offender is not possible, parole investigators

can conduct personal interviews through a telephone call. Ex. 4 at p. 229:12-230:8.

       16.     If a personal interview is not possible, interview questionnaires may be used. See

Ex. 7 at p. 7; see also Ex. 4 at p. 229:21-230:8.

       17.     The parole investigator makes a recommendation as to whether an inmate

should be recommended for parole. Ex. 7 at p. 31; Ex. 4 at p. 272:13-15, p. 274:7-12. However,

Board members are not required to follow the investigator’s recommendation. See Ex. 6 at p.

85:10-15; 19-21; see also Doyle Depo, attached as Exhibit 8 at p. 111:19; p. 120:5; pp. 65:21-66:10.

       18.     Once the parole dockets are finalized, the investigative reports are given to the

PPB members for review about three weeks out from the hearing/meeting date. See Ex. 3 at

p. 55:5-22.

       19.     While the PPB may grant parole for nonviolent offenses, for violent offenses,

PPB members can only vote to recommend release to parole to the Governor. See Ex. 5 at

515:25-9-1; see also OKLA. CONST. art. VI § 10.

       20.     During stage one, the offender, victim, and the district attorney are not allowed

to speak to the PPB members. Ex. 3 at p. 69:12-25.

       21.     If PPB members vote to move the violent offender through the parole process,

the next step is stage two, where the inmate makes a personal appearance. Ex. 3 at p. 70:18-

23, p. 71:17-20; see also Ex. 5 at 515:25-7-2.




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         22.      At the stage two parole hearing for a violent offense, the Board will vote to

either recommend or deny parole for the inmate. There are no limitations on the factors the

Board may consider in making its recommendations to the Governor. Id. at 515:25-9-1.

         23.      The parole docket sheets provide the information needed to determine an

individual’s age at the time of the offense. Ex. 6 at pp. 168:12-169:8.

         24.      An inmate’s classification as violent or nonviolent offender is defined by statute

(as enumerated in 57 O.S. § 571). See Ex. 3 at p. 64:10-14; see also Ex. 5 at 515:25-1-2.

Contents of the Investigative Report

         25.      Section 1 contains the name, date of birth, and gender of the inmate. Ex. 7 at

p. 8.

         26.      Section 2 contains the docket information, including where the inmate is

assigned, his security level and reception date, the amount of county jail time served for the

current sentence, number of other convictions, as well as the number of prior incarcerations.

Id. at pp. 8-9.

         27.      Section 3 contains information about the controlling case, or the one with the

longest running case. Ex. 4 at pp. 212:16-213:5. This includes the offense type, offense,

sentence, and county of conviction, along with any prior parole considerations. Ex. 7 at pp.

12-13.

         28.      Section 4 includes information on concurrent or consecutive sentences. Id. at

pp. 14-15.

         29.      Section 5 of the report provides the district attorney’s version of the offense.

Ex. 4 at p. 216:22-25; Ex. 7 at p. 16.


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       30.     Section 7 provides the inmate’s version of the offense. Id. at 17.

       31.     Section 9 includes other relevant information, including undocumented felony

convictions, explanations that cannot be entered elsewhere, explanations of discrepancies

between information as shown on documents and in current records, all information for which

the inmate is the sole source, informal disciplinary sanctions not related to substance abuse or

violent behavior, and Native American tribal affiliation, if any. Id. at. 20.

       32.     Section 13 includes ODOC disciplinary records. Ex. 4 at p. 251:10-12. This

includes all misconducts the inmate has received during the previous year as well as all

misconducts for violent behavior and drug/alcohol related rule violations imposed within the

past ten years. Ex. 7 at p. 23.

       33.     Section 14 includes information about substance abuse and mental health

history. See Ex. 4 at p. 252:17-20; Ex. 7 at pp. 23-26.

       34.     Section 15 of the report is for documented violent behavior. Ex. 4 at p. 252:17-

20. The purpose of this is to illustrate behavioral progression. These are for misconduct

reports more than ten years old and not already duplicated in Section 13. Ex. 7 at pp. 26-27.

       35.     Section 16 of the report is for program needs and participation. Ex. 4 at p.

259:19-22; Ex. 7 at pp. 27-29. This includes information on programs the offender is currently

participating in, programs completed, and describes those the types of programs (education,

substance, etc.). Id.

       36.     Section 17 is for the inmate’s parole plan, including where the offender would

live, any expected employment, or plans for education. Ex. 4 at p. 260:20-22; Ex. 7 at p. 29.




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       37.     Section 18 is for the inmate’s personal information, including his or her marital

status and number of dependents. Ex. 4 at pp. 262:21-263:1. It also includes job skills an

inmate had before incarceration, the employment history prior to incarceration, and the family

history of the inmate. Ex. 7 at pp. 30-31; Ex. 4 at p. 265:4-12, p. 267:22-24.

       38.     Section 20 contains the investigator’s recommendation. Ex. 4 at p. 272:13-15,

Ex. 7 at p. 31. Investigators have full discretion when determining what to include in this

section of the report. Ex. 4 at pp. 274:24-275:5.

       39.     The information regarding the inmate’s age at the time of the underlying offense

is available in every investigative report, as the birth date and case file date are available on

every report. See Ex. 6 at pp. 164:21-165:4, p. 111:6-11, p. 114:21-25, see also Ex. 8 at p. 67:2-

16.

       40.     The age of the inmate at the time of the underlying offense is an important

factor in parole consideration and decision making. Ex. 8 at p. 67:12-23.

Plaintiff’s Parole Information and H istory

       41.     Plaintiff was first considered for parole in October of 2010 at the age of 30 after

serving one third (15 years) of the concurrent life sentences he received for Count I and Count

II. Ex. 2 at PPB 44-45.

       42.     The Board considered Plaintiff for parole, regularly every three (3) years, for a

total of five (5) times. (October 2010 Parole, October 2013 Parole, October 2016 Parole,

October 2019 Parole, October 2022 Parole). Id. at. PPB 20-45.




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       43.    Each of the five (5) times Plaintiff appeared on the parole docket, a PPB parole

investigator conducted an investigation and then prepared and submitted an Investigative

Report. Id. at PPB 21-23, 27-29, 33-38,40-42.

       44.    In Plaintiff’s 2010 Investigative Report, the parole investigator wrote, “Mr.

Thomas is incarcerated for violent offenses for the death of three people. He has accumulated

nine total misconduct reports, including four for assaultive behavior and three for possession

of a homemade knife. Given the nature of his offenses, I would need to see a longer period

of non-assaultive behavior to make a favorable recommendation.” Id. at PPB 42.

       45.    In Plaintiff’s 2013 Investigative Report, the parole investigator set forth, in

pertinent part, “No. The offender is incarcerated for three violent offenses. He has

accumulated ten misconduct reports, including four for assaultive behavior, and three for

possession of a homemade knife. Parole is not recommended.” The risk assessment notes that

Plaintiff was 16 years or younger at the time of his arrest. Id. at PPB 36-38.

       46.    In Plaintiff’s 2016 Investigative Report, the parole investigator stated the

following about Plaintiff in his recommendation to the Parole Board: “Mr. Thomas has been

in DOC custody for these offenses since he was seventeen.” Id. at PPB 33-35.

       47.    In Plaintiff’s 2019 Investigative Report, a parole investigator stated the

following about Plaintiff in their investigator recommendation to the Parole Board: “Thomas

was 15 at the time of his arrest.” Id. at PPB 27-29.

       48.    In Plaintiff’s 2022 Investigative Report, a parole investigator set forth the

following about Plaintiff: “No, parole is not recommended. Even though it is his first




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incarceration, the violent nature of the crimes and consistent pattern of misconducts shows

that the offender is still a continued risk to the public.” Id. at PPB 20-23.

       49.     Plaintiff has never received a favorable vote by the Pardon and Parole Board

and has never made it past stage one (i.e., jacket review). See Ex. 2 at PPB 20-45. Plaintiff has

never been passed to stage two. Id.

Plaintiff’s Misconducts at ODOC

       50.     Plaintiff has earned multiple misconducts during his incarceration at ODOC,

including multiple Class X misconducts. Ex. 1 at ODOC 875-876.

       51.     “Class X misconducts are the most severe misconduct provided by the ODOC

disciplinary policy.” See [Doc. 36-15].

       52.     On September 6, 1998, Plaintiff battered an ODOC employee, and accordingly

received a Class X misconduct for battery of staff. (Ex. 1 at ODOC 875-876). On January 27,

1999, Plaintiff battered a fellow inmate, thus earning yet another misconduct. Id. On April 17,

1999, Plaintiff received a misconduct for lying to a staff member. Id. On July 9, 1999, Plaintiff’s

conduct warranted another Class X misconduct, this time for possession of a weapon and

marijuana seeds. Id. On July 10, 1999, Plaintiff jumped on a staff member’s back and tried to

choke ODOC Correctional Officer Reese Lane with a microphone cord. This dangerous

behavior resulted in another Class X misconduct for battery of staff. Id. Also on July 10, 1999,

Plaintiff received a Class X misconduct for possession of multiple weapons (4 syringes and 2

shanks). Id. On July 14, 1999, Plaintiff threatened sexual assault against an ODOC staff

member, thereby earning yet another Class X misconduct. Id. Plaintiff made the following

expletive-laden threat against ODOC correctional officer Strader: "open this door and I'll f*ck


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you in the a*s Strader, I'll f*ck you like a b*tch” 5 Id. On December 13, 1999, Plaintiff received

yet another Class X misconduct for possession of a weapon. Id.

       53.      On August 2, 2000, Plaintiff’s manufacturing of intoxicants led to his receipt

of a misconduct. Id.

       54.     On October 11, 2011, Plaintiff received a misconduct for unauthorized use of

state property. Plaintiff was found in possession of an electrical device taken from

maintenance. Id.

       55.     On January 31, 2017, Plaintiff received a Class X misconduct for possession of

five cellphones and three chargers. Id. On June 22, 2017, a reporting officer conducted a urine

test on Plaintiff. He tested positive for Methamphetamines and received a misconduct. Id., see

also ODOC 785. On November 28, 2017, Plaintiff received a Class X misconduct for

possession of a cell phone. Id.

       56.     On July 30, 2020, Plaintiff received a Class X misconduct for selling/bartering

homemade brew (i.e., dark red liquid that was being made into brew was found in his cell

during cell inspections). Id.

       57.     On January 3, 2022, Plaintiff received a Class X misconduct for possession of a

cellphone and phone charger. Id. On January 23, 2022, Plaintiff received a Class X misconduct

for possession of a cellphone. Id.

       58.     On January 8, 2024, Plaintiff received a Class X misconduct for possession of a

cellphone. Ex. 1 at ODOC 1121-1126.



5 The details to Plaintiff’s misconduct are relevant to this lawsuit and further illustrate
Plaintiff’s behavior while incarcerated at ODOC.
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       59.     Plaintiff received all misconducts at ODOC while over the age of 18 years old.

See Ex. 1 at ODOC 873-876, see also Ex. 2 at PPB 21.

       60.     On Plaintiff’s ODOC Cell Assignment Form from 2000, his ODOC case

manager states the following: “Inmate claims to be member of white supremacist group and

refuses to live with ‘ni**ers’” and cites to a letter written by Plaintiff for supporting evidence.

Ex. 1 at ODOC 854-856.

       61.     While incarcerated at ODOC, Plaintiff wrote a letter to his ODOC case

manager stating:

       I would like it to be noted, and logged in my jacket, that I am an extreme white
       supremacist and am a member of the white identity movement, it is against my
       Christian belief along with a violation of my constitutional rights to live with a
       ni**er.…If a situation does arise in which you have no choice, then I will oppose
       to the best of my ability, even physically necessary. So therefore, to save future
       problems, avoid the circumstance of placing a ni**er in my cell. Respectfully,
       and sincerely, Dwain Thomas.

Id. at ODOC 600.

Res Judicata and Collateral Estoppel

       62. Plaintiff filed his Petition-in-Error with Brief-in-Support to the Oklahoma Court

of Criminal Appeals on February 19, 2019, alleging the district court abused its discretion

when it denied his application for Post-Conviction Relief. See Petition in Error, attached as

Exhibit 9; Application for Post-Conviction, attached as Exhibit 10; State’s Response to Application for

Post-Conviction, attached as Exhibit 11; and Order Post-Conviction Relief, attached as Exhibit 12. In

his brief, Plaintiff claimed that though he was not serving a sentence of life without parole, he

was nonetheless subject to a life without parole as he was denied meaningful opportunity for

release within his lifetime. Ex. 9 at p. 12.


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       63.    The Oklahoma Court of Criminal Appeals affirmed the denial of Plaintiff’s

Application for Post-Conviction relief, stating “Petitioner is eligible for parole consideration

after serving fifteen years of each of his consecutive life sentences,” and therefore he “has a

material opportunity to obtain release on parole during his natural lifetime from his sentences

in Sequoyah County District Court Case. No. CF-1995-380A”. See Order attached as Exhibit

13 at p. 2.

Programs at ODOC

       64.    While incarcerated at ODOC, Plaintiff received his GED certificate. Plaintiff

attended and completed several college courses (66 credit hours overall) through Langston

University (an accredited university) and received college achievement credits. (See Ex. 1 at

ODOC 490, 584-585). Plaintiff participated in and completed Module 1 of the Licensed

Trades Academy program. Id. at ODOC 548, 725-726,750. Plaintiff also earned 30 credits for

completing six months of Session 3 of the Licensed Trades Academy program. Id. at ODOC

748-749. Plaintiff participated in and completed the Victim Impact- Listen & Learn program,

the Building Social Networks program, the SAMHSA Anger Management program, the

Biblical Interpretation program, and the Thinking for a Change program. Id. at ODOC. 481-

483, 659,742. Plaintiff applied for a maintenance job and received approval for the job. Id. at

ODOC 723. Plaintiff received his Refrigeration Technician certification. Id. at ODOC 728.

Plaintiff received his Residential Electrician’s Assistant certification and received his

Commercial/Industrial Electrician’s Assistant certification. Id. at ODOC 729-730. Plaintiff

participated in and completed the HVAC Esco Institute training and received his Universal

Technician certification through the Esco Institute. Id. at ODOC 731-732. Plaintiff attended


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the RMC Research Corp. and took the critical thinking CAPP (collegiate assessment of

academic proficiency) test. Id. at ODOC 735-736. Plaintiff participated in and completed the

2006 Mechanical Code Training, passed his Mechanical Journeyman examination, and received

his license from the State of Oklahoma Construction Industries Board. Id. at ODOC 738-740.

Plaintiff participated in and completed the Paralegal Studies Certificate Program through

Blackstone Career Institute. Id. at ODOC 1080.

                                STANDARD OF REVIEW

       Summary judgment shall be granted when the moving party demonstrates that it is

entitled to judgment as a matter of law because there is no evidence within the pleadings,

depositions, answers to interrogatories, or affidavits to support the claims of the

nonmoving party or that there is no genuine issue as to any material fact. Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). An issue is “genuine” only if the

evidence is such that a reasonable fact finder could return a verdict for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “A fact is ‘material’ if, under the

governing law, it could have an effect on the outcome of the lawsuit.” E.E.O.C. v.

Horizon/CMS Healthcare Corp., 220 F.3d 1184, 1190 (10th Cir. 2000). “Conclusory, self-

serving assertions, devoid of factual support, do not create a genuine issue of material fact.”

Li Zu v. Avalon Health Care, Inc., 806 F. App'x 610, 617 (10th Cir. 2020).

       “Only disputes over facts that might affect the outcome of the suit under the

governing law will properly preclude the entry of summary judgment. Although a plaintiff is

entitled to all reasonable inferences from the record, she must still marshal sufficient

evidence requiring submission of the matter to the jury in order to avoid summary


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judgment.” Piercy v. Maketa, 480 F.3d 1192, 1197 (10th Cir. 2007). Thus, if the plaintiff bears

the burden of persuasion on a claim at trial, then summary judgment may be warranted if

(a) Defendant points out a lack of evidence to support an essential element of that claim,

and (b) Plaintiff cannot identify specific facts that would create a genuine issue. Water Pik, Inc.

v. Med-Systems, Inc., 726 F.3d 1136, 1143–44 (10th Cir. 2013). Even so, the existence of a fact

issue does not preclude entry of summary judgment where there is no evidence to support

a dispute on that issue or the evidence is so one-sided that no reasonable juror could find for

the other side. True v. United States, 190 F.3d 1165, 1177 (10th Cir. 1999).

                            ARGUMENT AND AUTHORITY

PROPOSITION I: PLAINTIFF’S CLAIMS THAT THE OKLAHOMA PAROLE
               PROCESS VIOLATES THE EIGHTH AMENDMENT OR
               THE OKLAHOMA CONSTITUTION FAIL AS A MATTER OF
               LAW.

       Through a series of cases since 2005, the United States Supreme Court has found that

the application of certain punitive measures to juvenile offenders violates the Eighth

Amendment. First, in Roper v. Simmons, 543 U.S. 551 (2005), the Supreme Court held that the

Eighth Amendment prohibits capital punishment for juveniles. Second, in Graham v. Florida,

560 U.S. 48 (2010), the Court found the Eighth Amendment prohibits sentencing juveniles

who commit non-homicide offenses to life without parole. There, the court specifically found

that non-homicide offenders could not be required to serve life in prison without “some

meaningful opportunity for release based on demonstrated maturity and rehabilitation.”

Graham, 560 U.S. at 69. This is because “there is a line between homicide and other serious

violent offense” as nonhomicide offenses “cannot be compared to murder in their severity

and irrevocability.” Id. at 69, (quoting Kennedy v. Louisiana, 554 U.S. 407, 436-438, as

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modified (Oct. 1, 2008), opinion modified on denial of reh'g, 554 U.S. 945 (2008), See also

Coker v. Georgia, 433 U.S. 584, 598 (1977) (plurality opinion).

       In noting the difference between homicide and non-homicide offenders, Graham did

not require juvenile homicide offenders receive the same meaningful opportunity for release.

Graham does not even require a juvenile non-homicide offender to be released from prison

during his or her lifetime. Graham, 560 U.S. at 75 (“The Eighth Amendment does not

foreclose the possibility that persons convicted of non-homicide crimes committed before

adulthood will remain behind bars for life.”).

       Third, in Miller v. Alabama, 567 U.S. 460 (2012), the Supreme Court held that a law

mandating life imprisonment without the possibility of parole for a homicide offense is

unconstitutional as applied to juveniles. The Court’s ruling in Miller did “not foreclose a

sentencer’s ability to [sentence juvenile offenders to life without parole] in homicide cases.”

Id.at 480. Instead, Miller requires all jurisdictions to specifically consider a juvenile offender’s

youth and attendant characteristics prior to imposing a sentence of life imprisonment

without parole. Miller, 567 U.S. at 483. Thus, Miller is not applicable to juveniles sentenced

to life with the possibility of parole. In Montgomery v. Louisiana, the Supreme Court held that

Miller applied retroactively, finding “[a] State may remedy a Miller violation by permitting

juvenile homicide offenders to be considered for parole, rather than resentencing them.” 577

U.S. 190, 212-13 (2016).

    Most recently, the Supreme Court held in Jones v. Mississippi that “[i]n a case involving an

individual who was under 18 when he or she committed a homicide, a State’s discretionary

sentencing system is both constitutionally necessary and constitutionally sufficient” and thus


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did not violate the Eighth Amendment. 593 U.S. 98, 103 (2021). The court recognized that,

before sentencing a juvenile offender to life without parole, Miller required that a sentencer

have discretion to consider youth before imposing a life-without parole sentence. Id. at 109.

The court also noted that Miller “did not impose a formal factfinding requirement’ and added

that ‘a finding of fact regarding a child’s incorrigibility is not required.’” Jones, 593 U.S. 103-

104 (quoting Montgomery, 577 U.S. at 211). Thus, even when sentencing a juvenile to life

without parole, a sentencer is not required to perform any specific fact-finding requirement,

but instead must only have “discretion to consider youth before imposing a life-without parole

sentence.” Id. at 109. In fact, the Jones Court determined that Miller operates on a presumption

that a trial court will consider an offender’s youth prior to sentencing Jones, 593 U.S. 113-114

(“If the Sentencer has the discretion to consider the defendant’s youth, the sentencer

necessarily will consider the defendant’s youth[.]”).

    Plaintiff seeks to extend these cases—all of which address the imposition of life sentences

without parole upon juveniles who committed non-homicide crimes—to his sentence of life with

the possibility of parole for the crime of homicide. This approach is fundamentally mistaken. None

of these cases contain any suggestion that they would or should be applied in circumstances

wherein a juvenile was convicted of homicide. Nor do these cases apply in circumstances, like

Plaintiff, in which juveniles sentenced to life retained the possibility of parole. In fact, Graham

distinctly drew a line between homicide and non-homicide offenders. Graham, 560 U.S. at 69.

Simply put, according to Graham, Plaintiff, as a homicide offender, is not of the class of

offenders which retains a constitutional right to a meaningful opportunity for parole. Likewise,




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the fact that Plaintiff was sentenced to life with the possibility for parole—despite his status

as a homicide offender—renders Miller and Montgomery inapplicable. UMF Nos. 1-6.

    The inapplicability of Plaintiff’s cited cases is further reflected by Tenth Circuit case law

interpreting Graham. In Budder v. Addison, the Tenth Circuit explained that Graham applies only

to juvenile offenders “who did not commit homicide.” Budder v. Addison, 851 F.3d 1047, 1057

(10th Cir. 2017) (citing Graham, 560 U.S. at 60-61) (emphasis added). Accordingly, because

Plaintiff did commit homicide, Graham is inapplicable.

       This point is further reinforced by several analogous local District Court Opinions.

The first is Rodgers v. Whitten, a recent, strikingly similar case from the Western District of

Oklahoma. See No. CIV-20-839-PRW, 2020 WL 8768604, at *2 (W.D. Okla. Nov. 3, 2020),

report and recommendation adopted, No. CIV-20-00839-PRW, 2021 WL 735647 (W.D.

Okla. Feb. 25, 2021). There, a state prisoner filed an action pursuant to 42 U.S.C. § 1983

arguing his life sentence for a murder he committed at the age of sixteen violated his Eighth

Amendment rights under Miller v. Alabama, 567 U.S. 460 (2012). The plaintiff further argued

that Oklahoma’s parole procedures did not provide a reasonable opportunity for release. Id.

In his Order adopting the Report and Recommendation, United States District Judge Patrick

R. Wyrick stated “Petitioner has several problems. First, as a homicide offender, he is not in

the class of offenders with a constitutional right to a meaningful opportunity for parole.

Under Miller, he could have been sentenced to life with no possibility of parole.” Id. at *1.

Judge Wyrick then stated, in relevant portions:

       The Supreme Court in Graham v. Florida, 560 U.S. 48 (2010) and its progeny
       merely held that those who commit a non-homicide offense as a juvenile must
       be given a meaningful opportunity for parole… Petitioner’s bigger problem is
       that he committed a homicide (felony murder), which places him in the class of

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       juveniles who can be denied the possibility of parole, so long as the sentencing
       judge had the opportunity to consider and impose a sentence that included the
       opportunity for parole. Given that Petitioner was sentenced to life, his
       sentencing judge clearly had that opportunity.

Id at *1. (emphasis added). See also Bias v. Stitt, No. CIV-20-989-SLP, 2020 WL 10731244

(W.D. Okla. Dec. 15, 2020), report and recommendation adopted, No. CIV-20-989-SLP,

2021 WL 3008606 (W.D. Okla. July 15, 2021) (concluding that the plaintiff’s Eighth

amendment claim fails as neither Miller nor Montgomery applies to his life sentence and

dismissing § 1983 complaint).; See Lewis v. Okla. Pardon & Parole Bd., No. CIV-18-1205-G,

2019 WL 1500671, at *1 (W.D. Okla. Apr. 5, 2019) (concluding that Miller did not apply

because “Plaintiff was not sentenced to life-without-parole and has in fact been considered

for parole on at least six occasions” and dismissing § 1983 complaint); See also Pickens v. S.C.

Dep’t of Prob., Parole, and Pardon Servs., No. 8:22-cv-00500-RBH, 2022 WL 2965626, at *3

(D.S.C. July 27, 2022) (explaining that Miller does not extend (1) to juvenile offenders

sentenced to life with parole and (2) beyond sentencing proceedings).

       The Oklahoma Court of Criminal Appeals has determined that even under the

Oklahoma Constitution, taking into account Miller and Graham, “[a] State is not required to

guarantee eventual freedom to a juvenile offender.” Martinez v. State, 2019 OK CR 7, ¶ 8.

There, the plaintiff was sixteen years old when he committed of murder and shooting with

intent to kill. The plaintiff claimed he would not be considered for parole until he was 54 years

of age, and not eligible for release on parole until he was 79 years old in violation of Miller.

The Oklahoma Court of Criminal Appeals determined that that “[b]ased upon the length of

Petitioner’s sentences and the current status of the law, we find that Petitioner has some



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meaningful opportunity to obtain release on parole during his lifetime” and therefore, there

was no violation of the Eighth Amendment or the Oklahoma Constitution. Id.

       Finally, other jurisdictions have refused to extend Miller in the manner Plaintiff

requests. In Bowling v. Director, Virginia Department of Corrections, 920 F.3d 192, 197 (4th Cir.

2019), the Fourth Circuit specifically held that Miller did not extend to a juvenile offender’s

parole proceedings. Id. After discussing Roper, Graham, Miller, and Montgomery, the court

concluded:

       Appellant asks this court to extend the Supreme Court’s Eighth Amendment
       jurisprudence to juvenile parole proceedings and find that it is cruel and unusual
       punishment for a parole board to deny juvenile offenders’ parole without
       specifically considering age related mitigating characteristics as a separate factor
       in the decision-making process. Granting that request would require us to
       extend the legacy of Roper, Graham, and Miller in two ways. First, we would
       have to find that juvenile specific Eighth Amendment protections extend to
       juvenile homicide offenders sentenced to life with parole. And second, we
       would have to find that those protections extend beyond sentencing
       proceedings. We decline to go so far.

Id. at 197.

       As an inmate who was sentenced to life with a possibility of parole as a juvenile for

committing three homicides, Plaintiff’s claims under the Eighth Amendment and Oklahoma

Constitution fail. OKLA. CONST. art. II, § 9 is virtually identical to the Eighth Amendment to

the United States Constitution; § 9 prohibits “cruel or unusual punishments,” while the Eighth

Amendment prohibits “cruel and unusual punishments.” Revilla v. Glanz, 7 F. Supp. 3d 1207,

1219 (N.D. Okla. 2014).

       Plaintiff was convicted of three (3) violent homicide offenses he committed when he

was a juvenile. UMF 2-4. Because of the violent nature of his crimes, Plaintiff does not fall

within the ambit of the Eighth Amendment’s prohibition on life sentences without the

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possibility of parole. Budder, 851 F.3d at 1057. Plaintiff could have received a life sentence

without the possibility of parole, but he did not. Even if Plaintiff received a “de facto” life

sentence without parole, this would not violate the Eighth Amendment or the Oklahoma

Constitution as the court had the discretion to sentence him to life without the possibility of

parole.

PROPOSITION II: PLAINTIFF ENJOYED A MEANINGFUL OPPORTUNITY
                FOR RELEASE.

          Contrary to Plaintiff’s assertions, and even though he is within the class of inmates

who may lawfully be required to serve life without parole, the undisputed facts reflect that

he has been afforded a meaningful opportunity for parole. To illustrate, for the purposes of

parole in Oklahoma, a life sentence is calculated as 45 years. Anderson v. State, 2006 OK CR

6, ¶ 24 (Okla. 2006). 6 Plaintiff was eligible for Parole after serving 15 years, one-third (1/3)

of his sentence, in October of 2010. UMF 41. Plaintiff has since been considered for parole

on five different occasions, beginning at the age of 30. UMF 42.

       Other jurisdictions who have dealt with issues comparable to those raised in this case,

have found that systems similar to Oklahoma’s parole system do provide a meaningful

opportunity for parole. In Bowling, supra, the Fourth Circuit first determined that the

protections of Miller and its lineage did not reach the plaintiff, a juvenile offender who has and

will continue to receive parole determination. Bowling, 920 F.3d at 198. The Court continued

and found that, to the extent Miller and its progeny require a meaningful opportunity for


6 In 2000, Oklahoma adopted a statute requiring prisoners convicted of certain crimes to serve

at least 85% of a sentence of imprisonment. OKLA. STAT. tit. 21, § 13.1. However, because
Plaintiff was convicted prior to that date, it does not apply to him. Landes v. McCollum, No.
CIV–14–190–R, 2014 WL 6455483, at *3 n.6 (W.D. Okla. Nov. 13, 2014).
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release, that requirement was satisfied when the parole board factors for parole included:

“whether [Appellant’s] release would be compatible with public safety and the mutual interests

of society and [Appellant],” “whether [Appellant’s] character, conduct, vocational training and

other developmental activities during incarceration reflect the probability that [he] will lead a

law-abiding life in the community and live up to all the conditions of parole,” “[Appellant’s]

personal history,” “[Appellant’s] institutional adjustment,” “[Appellant’s] change in attitude

toward [himself] and others,” “[Appellant’s] release plans,” “[Appellant’s] evaluations,”

“impressions gained ... by the parole examiner,” and “any other information provided by

[Appellant’s] attorney, family, victims or other persons.” Id. The Court concluded that these

factors “allowed the Parole Board to fully consider the inmates age at the time of the offense,

as well as any evidence submitted to demonstrate his maturation since, and account for the

concern at the heart of Graham and Miller: ‘that children who commit even heinous crimes are

capable of change.’” Id, quoting Montgomery 136 S. Ct. at 736.

       In Brown v. Precythe, 46 F.4th 879, 887 (8th Cir. 2022), the court found that Missouri

provides “some meaningful opportunity” for an offender to obtain release. Id. Missouri’s

parole process is based on demonstrative maturity and rehabilitation and provides offenders

with advance notice of their parole review, an opportunity to be heard (including through a

delegate), and an opportunity to submit letters of support. Inmates are interviewed by parole

staff before their hearings, and the parole board considers staff reports. The court rejected the

proposition that those processes deprived inmates of a meaningful opportunity for parole by

also permitting the parole board to hear from victims and law enforcement, in addition to

considering the seriousness of the inmate’s offenses. Id. In so reasoning, the Eighth Circuit


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noted “the State is not required to adopt procedures that are more advantageous to juvenile

homicide offenders seeking release from custody.” Id.

       Comparing these principles to the immediate case, the PPB members are required to

consider the “conduct and record of [] said person during his custody in the Department of

Corrections[.]” OKLA. STAT. tit. 57 § 332.7(L) (It shall be the duty of the [PPB] to cause an

examination to be made at the penal institution where a person is assigned and to make

inquiry into the conduct and record of the said person during his custody in the Department

of Corrections, which shall be considered as a basis for consideration of said person for

recommendation to the Governor for parole.” This conduct and record by its nature

provides PPB an opportunity to consider Plaintiff’s maturation and rehabilitation.

       Plaintiff was considered for stage one parole on five (5) occasions. UMF 42. During

this stage, PPB members are provided the investigative report, along with support and protest

letters. UMF 11. The investigative report contains a multitude of information for the PPB

board members to consult before making decisions. UMF Nos. 25-35. This includes a section

for Plaintiff’s version of the offense. UMF 30. Parole investigators “like to get our own

versions from the inmate,” and therefore conduct an interview or questionnaire of the inmate.

UMF Nos. 14-16; see also Ex. 4 at p. 229:12-20. Only if the investigator is unable to do an in-

person interview or the inmate did not fill out a questionnaire would the investigator use

information from ODOC. UMF 16. The report may be paraphrased, as there are sections with

a 3000-word limit, and to ensure proper grammar and legibility. Ex. 4 at pp. 231:2-232:9; Ex.

3 at pp. 140:14-141:13.




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       PPB members then review the documents. In making their decisions, the PPB

members take into consideration numerous factors. Ex. 6 at p. 119:21-121:1. These factors

are carefully considered when analyzed by the PPB members. Id. These factors provide the

Board with evidence to show Plaintiff’s maturation and rehabilitation since his crime. In

Plaintiff’s case, the PPB members were informed he had participated in many vocational

trainings, received his GED, received several vocational certificates, taken several college

courses, and participated in numerous programs. UMF 65. However, Plaintiff received, and

continues to receive, misconducts, including two Class X misconducts (the most serious) in

2022. UMF Nos. 50-58. These misconducts occurred while Plaintiff was an adult. UMF 59.

These factors, along with the violent nature of Plaintiff’s crimes, have weighed against him,

but Plaintiff was and continues to be given meaningful opportunity for parole. The Eighth

Amendment does not require a juvenile to be released from prison during his lifetime.

Graham, 560 U.S. at 75. Additionally, Plaintiff will have another opportunity for parole

consideration in 2025.

       Plaintiff argues his status as a youth at the time of his offense should be given its own

section in the investigative report. Not only is this not required under the Eighth

Amendment, Plaintiff’s age at the time of his offense is available to the PPB members.

Plaintiff’s 2019 investigative report specifically states, “Thomas was 15 at the time of his

arrest…” UMF 47. Plaintiff’s 2016 investigative report notes “Mr. Thomas has been in DOC

custody for these offenses since he was 17.” UMF 46. In Plaintiff’s 2013 investigative report,

his age at the time of the offense is listed under the “Risk Assessment” section, as it is in his

2010 assessment. UMF Nos. 44-45. Though not specifically presented on his 2022


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investigative report, this information is readily accessible as it lists his date of birth and case

date. UMF Nos. 25-26. Former board member Kelly Doyle testified she did the math if the

age of the inmate at the time of the offense was not specifically noted. Ex. 8 at 67:2-6. The

information to determine an offender’s age at time of the offense is included in all

investigative reports. UMF Nos. 39-40. The exact headings to describe information that

could be derived elsewhere in the report are not necessary to determine the offenders age at

time of the offense. Ex. 6 at 167:16-25.

       Plaintiff urges the Court to extend the Jones requirement of consideration of an

offender’s youth prior to imposing a sentence of life without parole to the PPB’s parole

considerations for juveniles sentenced to life with parole. However, the case law does not

support this requirement and as established by ample precedent cited herein, such efforts

have been rejected.

       Further, it is factually undisputed that PPB board members do have the discretion to

consider age at the time of the offense, as they had full discretion to consider a multitude of

factors:

        [O]ne factor that was covered in our training where we discussed dynamic
       factors and static factors, meaning things that can change in consideration of
       someone's parole and things that can't change, and age being one of the things
       that cannot change, and how to consider those different factors as we make
       parole decisions.

Ex. 6 at pp. 19:15-20:7, p. 85:10-18.

       Static factors such as age are one factor out of many that is included in board members

decisions. Id. at 85:10-18. Not only do PPB members have the discretion to consider age, but

the evidence also clearly shows that they do in fact consider age at time of the offense. The


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age of an offender at the time of the offense is an “important factor,” as “an individual’s

development plays into where they were in the stages of development played into my

understanding of criminogenic risk and whether they were a future threat to public safety.”

UMF 40. Plaintiff has received and will continue to receive a meaningful opportunity for

parole and therefore cannot maintain his claims against Bates.

PROPOSITION III: PLAINTIFF’S CLAIMS ARE SUBJECT TO RES JUDICATA.

       Plaintiff filed a Petition-in-Error with the Oklahoma Court of Criminal Appeals on

February 19, 2019, claiming that even though he was not serving a life without the possibility

of parole, he was nonetheless subject to a life without parole sentence, as he was denied

meaningful opportunity for release within his lifetime. UMF 62. After a review of Plaintiffs

briefing, the Court of Criminal Appeals found Plaintiff “has a material opportunity to obtain

release on parole.” UMF Nos. 63-64.

       Under the doctrine of Res Judicata, a final judgment on the merits of an action

precludes the parties or their privies from henceforth relitigating any issues which were or

could have been raised in the original action. Cromwell v. County of Sac, 94 U.S. 351, 352 (1876).

Likewise, collateral estoppel provides that, once a court has decided an issue of fact or law

necessary to render its judgment, that decision may preclude relitigating the same issue in a

suit based upon a different cause of action involving a party to the first case. Montana v. United

States, 440 U.S. 147, 153 (1994). The purpose of these doctrines is to relieve parties of the

cost and vexation of multiple lawsuits, conserve judicial resources, and, by preventing

inconsistent decisions, encourage reliance on adjudication. Id. at 153–154.




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       These doctrines apply in § 1983 actions such as this, where a plaintiff attempts to

relitigate in federal court issues decided against him in state criminal proceedings. A party

asserting issue preclusion must show: (1) the issue previously decided is identical to that

presented in the action in question; (2) the prior action has been finally adjudicated on the

merits; (3) the party against whom the doctrine is invoked was a party or in privity with a

party to the prior adjudication; and (4) the party against whom the doctrine is raised had a

full and fair opportunity to litigate the issue in the prior action. Stan Lee Media, Inc. v. Walt

Disney Co., 774 F.3d 1292, 1300 (10th Cir. 2014). Similarly, “claim preclusion” requires a

showing of three elements: (1) a final judgment on the merits in the previous action; (2) the

identities of the parties were the same in both suits; and (3) the causes of action in both suits

were identical. King v. Union Oil Co., 117 F.3d 443, 445 (10th Cir. 1997).

       Here, Plaintiff’s claims are indeed identical to those he set forth in his Petition in

Error. UMF 63. As was set forth in detail in the resulting Order, the issue of whether Plaintiff

was entitled to a meaningful opportunity for parole was previously, fully, and fairly litigated.

UMF 64. The parties were the same, and Plaintiff had the ability to litigate the issues he now

presents, and in fact did so. UMF Nos. 62-64. Plaintiff failed to appeal this ruling. All of this

resulted in a final order of the merits. Plaintiff is therefore barred from maintaining these

claims now.

PROPOSITION IV: PLAINTIFF IS NOT ENTITLED TO INJUNCTIVE OR
                DECLARATORY RELIEF.

       Plaintiff asks this Court to determine he is entitled to declaratory and injunctive relief.

Plaintiffs specifically ask this Court to declare that the Oklahoma Parole Process violates his

Eighth Amendment and Oklahoma Constitutional rights. However, Plaintiff has failed to state

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a claim for a constitutional violation. Since there is no ongoing constitutional violation,

Plaintiff’s request for injunctive and declaratory relief must accordingly be denied. Green v.

Mansour, 474 U.S. 64 (1985).

                                      CONCLUSION

       Plaintiff’s lawsuit and the undisputed material facts developed herein establish Plaintiff

is not entitled to the relief he seeks. The undisputed material facts, even when viewed in the

light most favorable to Plaintiff, demonstrate Plaintiff’s claims must fail. For the reasons stated

above, PPB Executive Director Tom Bates requests the Court enter judgment in his favor and

against Plaintiff on his claims, and grant all other relief deemed just and equitable.



                                             Respectfully submitted,

                                             s/ Alejandra J. Brigida
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                                             Attorneys for Defendants ODOC, OBOC, and PPB

                               CERTIFICATE OF SERVICE

I hereby certify that on the 4th day of September 2024, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to all counsel
of record in this action.


                                             /s/ Alejandra J. Brigida
                                             Alejandra J. Brigida


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